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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

     ERIC EVANS,                            §
                                            §
           Plaintiff,                       §
                                            §
     VS.                                    §
                                            §    CIVIL ACTION NO. 1:25-CV-00094
     BLOFINTYU, AUBREE HANSON,              §     JUDGE MICHAEL J. TRUNCALE
     ZEDXION EXCHANGE LTD.,                 §
     ELIZABETH NEWMAN, AND JOHN             §
     DOES 1 – 20,                           §
                                            §
           Defendants.


       ORDER GRANTING PLAINTIFF’S EMERGENCY MOTION FOR
          EXTENSION OF TEMPORARY RESTRAINING ORDER

           Before the Court is an Emergency Motion to Extend Temporary

    Restraining Order (“TRO”) submitted by Plaintiff Eric Evans. On April 1,

    2025, the Court granted Plaintiff’s request for a 14-day TRO freezing accounts

    at Zedxion Exchange and custodied by ChainUp Pte. Ltd (“ChainUp”) to

    which Plaintiff alleges he has traced his stolen assets. If not extended, the

    TRO will expire on April 15, 2025.

           In the instant Motion, Plaintiff reports that ChainUp has not assured

    Plaintiff that the accounts in question have been frozen, despite

    correspondence from law enforcement and from Plaintiff’s counsel providing

    ChainUp with the Order and with instruction from law enforcement to freeze

    the subject accounts pending their own investigation into Plaintiff’s loss.




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          Plaintiff requests a 14-day extension of the TRO in order to allow him

    to continue to work with law enforcement and to correspond with ChainUp

    regarding the implementation of the freeze. He argues that he should be given

    additional time to ensure the implementation of the account freezes and to

    secure information regarding the accounts, noting that these efforts will pave

    the way for his forthcoming motion for a preliminary injunction.

          Federal Rule of Civil Procedure 65(b)(2) provides for extension of a

    temporary restraining order “for good cause.” Plaintiff has shown good cause

    due to the difficulty of serving and communicating with ChainUp and the

    need to verify the implementation of the account freezes. Accordingly, the

    Court GRANTS the motion and EXTENDS the TRO. The TRO will expire

    on April 29, 2025.

          As required by Federal Rule of Civil Procedure 65(b)(3), the Court will

    set Plaintiff’s motion for a preliminary injunction for hearing “at the earliest

    possible time.” If Plaintiff chooses not to proceed with a motion for

    preliminary injunction, the TRO will dissolve as per the terms of this Order

    on April 29, 2025.




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     Dated: April 15, 2025                    Prepared By:

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